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                        UNITED STATES DISTRICT COURT
                             DISTRICT OF MAINE

UNITED STATES OF AMERICA               )
                                       )
                                       )
                   v.                  ) 2:16-cr-174-JDL
                                       )
WENDER SANTOS,                         )
                                       )
      Defendant.                       )


          ORDER ON MOTION FOR COMPASSIONATE RELEASE

      Wender Santos pleaded guilty in April 2018 to one count of conspiracy to

possess with intent to distribute and distribute fentanyl, in violation of 21 U.S.C.A.

§§ 841(a)(1), (b)(1)(C), 846 (West 2021), and one count of aiding and abetting the

possession with intent to distribute fentanyl, in violation of 18 U.S.C.A. § 2 (West

2021) and 21 U.S.C.A. § 841(a)(1) (West 2021).        In October 2018, Santos was

sentenced to a term of imprisonment of 130 months, to be followed by a term of

supervised release of three years. Santos now moves for compassionate release under

18 U.S.C.A. § 3582(c)(1)(A)(i) (West 2021), based on the alleged health risks he faces

in federal custody due to the COVID-19 pandemic (ECF No. 146, 163). For the

reasons that follow, I grant the motion.

                              I. LEGAL STANDARD

      The compassionate release statute, as amended by the First Step Act of 2018,

Pub. L. No. 115−391, § 603(b), 132 Stat. 5194, 5239−41 (codified at 18 U.S.C.A. §

3582(c)−(d) (West 2021)), permits a court to consider a motion for compassionate

release brought by a defendant “after the defendant has fully exhausted all

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administrative rights to appeal a failure of the Bureau of Prisons to bring a motion

on the defendant’s behalf” or after “the lapse of 30 days from the receipt of such a

request by the warden of the defendant’s facility, whichever is earlier.” 18 U.S.C.A.

§ 3582(c)(1)(A). Once a court determines that it may consider a defendant’s motion,

the court may reduce the defendant’s sentence if, after considering the factors set

forth in 18 U.S.C.A. § 3553(a), it finds that “extraordinary and compelling reasons

warrant such a reduction” and “that such a reduction is consistent with applicable

policy statements issued by the Sentencing Commission.” Id. § 3582(c)(1)(A)(i).

      Because the policy statement issued by the Sentencing Commission under the

compassionate release statute has not been updated since the enactment of the First

Step Act, I previously determined that the policy statement must be considered, but

that it need not be strictly applied when deciding whether to grant compassionate

release. See United States v. Calhoun, No. 2:15-cr-00056-JDL-1, 2020 U.S. Dist.

LEXIS 117527, at *3 (D. Me. July 1, 2020); accord United States v. Brooker, 976 F.3d

228, 235-36 (2d Cir. 2020).

                                   II. ANALYSIS

      Before evaluating the merits of Santos’s motion for compassionate release, I

address the threshold question of whether Santos has pursued administrative

remedies, which is a prerequisite to judicial action.

A.    Administrative Remedies

      As noted above, a court may only consider a defendant’s motion for

compassionate release “after the defendant has fully exhausted all administrative

rights to appeal a failure of the Bureau of Prisons to bring a motion on the defendant’s

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behalf” or after “the lapse of 30 days from the receipt of such a request by the warden

of the defendant’s facility, whichever is earlier.” 18 U.S.C.A. § 3582(c)(1)(A). Courts

have referred to this provision as a “hybrid requirement” that defendants “either

exhaust or wait thirty days.” See, e.g., United States v. Haney, No. 19-cr-541 (JSR),

2020 WL 1821988, at *3 (S.D.N.Y. Apr. 13, 2020). I have previously determined that

the hybrid requirement is a non-jurisdictional claim-processing rule. See Calhoun,

2020 U.S. Dist. LEXIS 117527, at *5 (citing United States v. Ramirez, Criminal Action

No. 17-10328-WGY, 2020 WL 2404858, at *7 (D. Mass. May 12, 2020)). Although

courts generally must enforce the hybrid requirement if the Government properly

raises an objection based on a defendant’s failure to comply with it, such objections

can be waived or forfeited. 1 Id. at *5−6 (citing Fort Bend Cty. v. Davis, 139 S. Ct.

1843, 1849 (2019) and United States v. Reyes-Santiago, 804 F.3d 453, 458, 478 (1st

Cir. 2015)).

       Santos filed a request for either transfer to home confinement or reduction of

his sentence to time served with prison administrators on May 6, 2020. That request

was subsequently denied. While there is no indication that Santos has taken steps

to appeal the denial of his request, the Government concedes that Santos has

exhausted his administrative remedies. Therefore, I consider any potential objection

on behalf of the Government waived.




 1 I do not address whether any equitable exceptions may excuse a defendant’s failure to comply with
the claim-processing rule at issue. See Fort Bend Cty., 139 S. Ct. at 1849 n.5; Ramirez, 2020 WL
2404858, at *7 (describing the split of authorities on this issue).
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B.    The Merits

      1.     Extraordinary and Compelling Reasons

      As explained above, a court may only grant compassionate release if it finds

that “extraordinary and compelling reasons” warrant a reduction in the defendant’s

sentence. 18 U.S.C.A. § 3582(c)(1)(A)(i). Santos asserts that extraordinary and

compelling reasons exist because he faces a higher risk of contracting COVID-19

while incarcerated in BOP custody, and because his health conditions place him at a

high risk of a severe complications if he were to become infected. The Government

does not agree with all of the reasons put forth by Santos in support of his position,

but ultimately agrees that Santos has established extraordinary and compelling

reasons for purposes of § 3582(c)(1)(A)(i). I briefly survey the facts which support this

determination.

      Santos is currently incarcerated at FCI Berlin in New Hampshire. The parties

sought, but were not able to acquire, recent statistics regarding the number of

inmates tested for COVID-19 at FCI Berlin over a recent ninety-day period, along

with the number of inmates who have tested positive.          Santos asserts, and the

Government does not dispute, that the rate of COVID-19 infections in BOP facilities

across the nation has grown substantially in recent months. Santos specifically cites

data gathered by the BOP which indicates that the number of inmates and BOP staff

members who have tested positive for COVID-19 in the past two months is nearly

double the number that tested positive over the prior seven-and-a-half months,

growing from 21,233 on November 6, 2020 to 40,533 on January 7, 2021. He further

notes that COVID-19 has infected roughly 19.7% of the population of BOP

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institutions, while it has infected roughly 4.3% of the general population of the United

States.

      Santos also argues that he is at a heightened risk of severe illness or death

from COVID-19 if he were to become infected both because he is clinically obese and

because he only has one lung due to having been stabbed when he was younger, which

causes him difficulty breathing. Santos’s medical records confirm that he is obese.

Santos is 70.8 inches tall and weighs 218 pounds. According to the CDC, this places

his Body Mass Index (BMI) at 30.6. Adult BMI Calculator, Ctrs. for Disease Control

and                                                                        Prevention,

https://www.cdc.gov/healthyweight/assessing/bmi/adult bmi/english bmi calculator

/bmi calculator.html (last visited Jan. 8, 2021). The CDC classifies obesity—defined

as having a BMI of 30 or above—as a factor that increases the risk of severe illness

from COVID-19. People with Certain Medical Conditions, Ctrs. for Disease Control

and        Prevention,        https://www.cdc.gov/coronavirus/2019-ncov/need-extra-

precautions/people-with-medical-conditions.html#obesity (last visited Jan. 8, 2021).

The Government concedes that obesity is a serious medical condition that constitutes

an “extraordinary and compelling reason” warranting Santos’s compassionate

release.

      Santos’s medical records also reflect that Santos’s left lung was removed after

he was stabbed in 2012, which results in him experiencing occasional shortness of

breath. The Government contends that the removal of Santos’s lung does not increase

his risk of COVID-19 complications because Santos’s remaining lung appears



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uninjured, and because “his ordinary, day-to-day work activities appear to be

unaffected by the loss of a lung.” ECF No. 171 at 11.

        It is established that COVID-19 “attacks the lungs and can cause a host of

respiratory conditions: shortness of breath and hypoxia (oxygen deficiency), as well

as pneumonia, acute respiratory distress syndrome, and permanent lung damage.”

United States v. Mueller, 471 F. Supp. 3d 625, 629 (E.D. Pa. 2020). In addition, “lung

removal surgery leads to permanent loss of lung function[.]” Id. (citing Luca Luzzi et

al., Long-term Respiratory Functional Results after Pneumonectomy, 34 Eur. J.

Cardio-Thoracic Surgery 164, 164 (2008); C.T. Bolliger et al., Pulmonary function and

exercise capacity after lung resection, 9 Eur. Respiratory J. 415 (1996)). Thus, a

person with only one lung “has less of a protective buffer of lung function should he

be infected. Diminished lung capacity from COVID-19 could be even graver for [a

person with only one lung] than for someone with normal lung function.”                             Id.

Accordingly, despite his ability to perform day-to-day activities with relatively normal

lung function, Santos faces an elevated risk of serious complications should he

contract COVID-19 because he only has one lung.

        Because Santos has established that he is at heightened risk of contracting

COVID-19 while in the custody of BOP and that his physical conditions put him at a

heightened risk of severe illness from COVID-19, I conclude that extraordinary and

compelling reasons exist to support compassionate release. 2


 2 Santos also contends that his Hispanic ethnicity increases his risk of COVID-19 complications,

noting that Hispanic people are hospitalized by COVID-19 at a higher rate than non-Hispanic white
people. However, while the CDC does note that “[t]here is increasing evidence that some racial and
ethnic minority groups are being disproportionately affected by COVID-19,” it also points to “inequities
in social determinants of health” as the reason for the high rates of COVID-19 infections and
complications among racial minorities. Health Equity Considerations & Racial & Ethnic Minority
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       2.      18 U.S.C.A. § 3553(a) Sentencing Factors

       Having determined that extraordinary and compelling reasons exist, I turn to

whether Santos’s compassionate release would be consistent with the sentencing

factors set forth in 18 U.S.C.A. § 3553(a). Santos was convicted of one count of

conspiracy to possess with intent to distribute and distribute fentanyl, in violation of

21 U.S.C.A. §§ 841(a)(1), (b)(1)(C), 846, and one count of aiding and abetting the

possession with intent to distribute fentanyl, in violation of 18 U.S.C.A. § 2 and 21

U.S.C.A. § 841(a)(1). Specifically, Santos was the head of a drug operation based in

Lawrence, Massachusetts that moved a significant amount of fentanyl through

portions of New England for a period of 18 to 24 months, beginning when he was

roughly 19 or 20 years old. Santos earned his livelihood by recruiting, directing, and

compensating a number of lower-level drug couriers who brought bulk quantities of

fentanyl into the State of Maine.

       In imposing the original sentence in this case, I applied the factors set forth in

18 U.S.C.A. § 3553(a). Those factors include the nature and circumstances of the

offense, the personal history and characteristics of the defendant, the kinds of

sentences available, the Sentencing Guidelines, the need to avoid unwarranted

sentencing disparities, and the need to provide restitution.                 Further, § 3553(a)


Groups, Ctrs. for Disease Control and Prevention, https://www.cdc.gov/coronavirus/2019-
ncov/community/health-equity/race-ethnicity.html (last visited Jan. 8, 2021). While the CDC’s
analysis presents a troubling picture of the impact systemic racism, lack of equal economic
opportunity, or other factors may have on public health in minority communities, it does not suggest
that Hispanic individuals are inherently predisposed to COVID-19 infection and complications.
Because Santos is currently incarcerated and should have access to healthcare through the Bureau of
Prisons if he needs it, I am not persuaded that Santos's ethnicity places him at an increased risk of
severe illness from COVID-19 if he remains incarcerated relative to the other individuals with whom
he is incarcerated.

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requires that the sentence reflect the seriousness of the offense that was committed,

promote respect for the law, provide just punishment, afford adequate deterrence,

protect the public from further crimes, and provide the defendant with needed

training, medical care, and other treatment in the most effective way.

      At sentencing, I focused on the seriousness of the offense, the need to afford

both Santos and the general public sufficient deterrence, and the need to provide

Santos with educational and vocational training.         I noted “the seriousness of

fentanyl,” which is “the most toxic substance we see in court these days” and which

puts both users and first responders at serious risk of injury or death. Sentencing

Tr. at 44. I emphasized the fact that Santos’s conduct fueled the drug addictions of

many people and increased the risk that those individuals and the first responders

assisting them could die from fentanyl consumption. Ultimately, I concluded that

this conduct was extremely serious and that the sentence imposed must deter both

Santos and the general public from engaging in similar conduct.

      My consideration of Santos’s personal history and characteristics led me to

order a downward variance from the sentencing range under the U.S. Sentencing

Commission Guidelines. Specifically, I noted that Santos grew up in extreme poverty

in the Dominican Republic and arrived in the United States at age fourteen, where

he was placed in high school without being able to speak English. Santos’s father

kicked him out of the house at age sixteen, leaving him to fend for himself. Santos’s

adolescence was “marked by [serious] deprivations, extreme poverty, the absence of

parental supervision, [and] the absence of . . . a role model,” all of which contributed

to him turning to drug distribution at age 19 as a means of support. Id. at 47. Despite

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these hardships, Santos had a large number of family members and friends speak on

his behalf at sentencing who described his positive characteristics and traits, and

their belief in his potential for complete rehabilitation.

      In addition, Santos was a young man, barely out of adolescence when he

committed these offenses.     His prior criminal history was minimal, involving a

conviction for theft when he as 17 and a conviction for driving while intoxicated when

he was 21. He had no prior felony convictions and he had not previously served time

in jail or prison. He also did not have a history of violence or using firearms or other

weapons.

      After weighing all these factors, I imposed a term of imprisonment of 130

months—below the Guidelines range of 168 to 210 months—to be followed by three

years of supervised release. Additionally, because Santos had a history of substance

abuse, I recommended that he be considered for and complete the 500-Hour

Comprehensive Drug Treatment Program during his term of imprisonment. I further

noted that incarceration would provide Santos with needed educational and

vocational training.

      I now revisit the § 3553(a) factors to determine whether granting

compassionate release is appropriate. A number of factors weigh in favor of granting

Santos’s motion for compassionate release. First, as I have already noted, Santos

faces a serious risk of complications or death should he contract COVID-19. Next,

Santos has taken a number of positive steps toward rehabilitation while incarcerated.

He has not received any disciplinary infractions, and he has obtained his General

Education Diploma (GED) and completed a number of additional educational courses.

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He has also improved his English and completed a substance abuse education

program. And he has worked as an orderly while incarcerated, earning positive work

performance evaluations.

      In addition, as was true at the time of sentencing, Santos has the benefit of

support from his family and friends, several of whom have written letters in support

of Santos’s motion for compassionate release, commenting on Santos’s growth and

maturity since his incarceration and the dedication he has shown to his three young

children during his time in prison. Santos has presented a plan to reside with his

fiancée in Massachusetts should he be released, and he has plans for employment.

      At this time, Santos presents a relatively low risk of danger to the community

should his request for compassionate release be granted. As I have already noted,

his criminal history consists of two convictions prior to the instant offense—one for

shoplifting at age 17 and one for driving while impaired at age 21. I noted specifically

at sentencing that those convictions did not involve any violence, weapons, or other

aggravating circumstances, and neither conviction led to any term of imprisonment.

Thus, his current sentence represents the first time he has been incarcerated.

Additionally, following his arrest but prior to his sentencing, Santos was successful

on pretrial release for more than a year.

      This is an instance in which the seriousness of an offender’s crime weighs

against the granting of compassionate release. The lengthy range of imprisonment

called for by the Guidelines in Santos’ case was heavily influenced by the drug

quantity determination and Santos’ role as a leader. To date, Santos has completed

approximately thirty-two percent of that sentence, accounting for possible good time

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credits. His release this early in his sentence undoubtedly minimizes the seriousness

of his criminal conduct and the threat that the sale of fentanyl presents to the

community.

      However, the § 3553(a) factors ultimately provide strong support for granting

Santos’s compassionate release request. He was a young man when he committed

his crime after an extraordinarily difficult childhood.       After his arrest he was

successfully on pretrial release for more than a year, and since his incarceration he

has not had any disciplinary incidents. Further, I find that he presents a low risk of

danger to the community should his request for compassionate release be granted.

After considering all the § 3553(a) factors, I conclude that this is an instance in which

a defendant’s failure to have served a substantial portion of his or her sentence does

not substantially detract from a compelling case favoring his immediate

compassionate release.

C.    Plan for Release

      Although I find that Santos has met the requirements for compassionate

release, an appropriate release plan must be approved by the Court. Santos has

already proposed a plan for release (ECF No. 181). The parties are directed to

expeditiously determine, in consultation with the U.S. Probation and Pretrial

Services Office, whether that plan or some other agreed-to release plan can be

achieved. The U. S. Probation and Pretrial Services Office is directed to file a report

to this Court regarding the status of these efforts within twenty days of the date of

this order. In addition, the U.S. Probation and Pretrial Services Office and the parties



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may submit proposed additional or revised conditions of supervised release for the

Court’s consideration.

                                III. CONCLUSION

      For the reasons explained above, Santos’s motion for compassionate release

(ECF Nos. 146, 163) is GRANTED; provided, however, that he shall only be released

after the Court has approved a home release plan, and that Santos shall remain

subject to a period of supervised release.


      SO ORDERED.

      Dated: January 11, 2021


                                                       /s/ JON D. LEVY
                                                  CHIEF U.S. DISTRICT JUDGE




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